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v. ‘) tva 10 on 500<)5
) Magistrate Judge P. Michael Mahoney
MARcUs ANDERSON, ) (_Judge Philip G. asinhard)
)

also known as “Leroy"
AGREED PROTE§:TIVE QRDER
Upon tlie motion of the United States for entry of an agreed protective order, it is
hereby ordered:
l. All materials produced by the government in preparation for or in conjunction
With any stage of the proceedings in this case, including but not limited to grand jury
transcripts, agency reports, witness statements,, memoranda of interview, financial records,.
tax records_, and any documents provided by the govemment, excluding trial exhibits, remain
the property of the United States. Within 30 days following the later of sentencing_,
conclusion of an appeal_, or an earlier resolution of the charge against the defendant_, all such
materials and all copies made thereof shall be returned to the United States without hirther
order of Court. All material returned shall be segregated and preserved by the United States
for a period of one year after sentencing or an earlier resolution of the charge against the
defendant
2. All materials provided by the United States may be utilized by thc defendant

and defense counsel solely in connection with the defense of this case and for no other

 

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purpose and in connection With no other proceeding The materials and their contents shall

not be disclosed either directly or indirectly to any person or entity other than the defendant,

defense counsel, persons employed to assist in the defense, or such other persons as to Whom

the Court may authorize disclosure Any notes or records of any kind that defense counsel

or any other recipient may make relating to the contents of materials provided by thel
government shall not'be disclosed to anyone other than the defendant, defense counsel._, and

persons employed to assist in the defense, or such other person as to whom the Court may

authorize disclosure, and all such notes and records shall not be disclosed except as provided

by this Order.

3. The materials shall not be copied or reproduced by defense counsel or any
other recipient, except as necessary to provide copies of the materials for use by defense
counsel, the defendant and such persons as are employed by them to assist in the defense
Such copies and reproductions shall be treated in the same manner as the original matter.

4, Prior to providing or disclosing any of the materials to any recipient_, including
the defendant, defense counsel shall provide a copy of this Order to each recipient and shall
advise each recipient that at the conclusion of this casc, thc materials must bc rcturncd to
defense counsel. All individuals and entities receiving these materials from defense counsel
shall be subject to this Order and shall not further disclose the materials or their contents

except as permitted by this Order or any hr.rther order of this Court. Defense counsel shall

 

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maintain a copy of this C|rder that has been signed and dated by each recipient who received
any materials subject to this Order.

5. Violation of this Order may result in the imposition of civil and criminal

P. MICI-IAEL MAH()NEY
United States Magistrate Judge

sanctions

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\”--“_l{jl-lN G. McKENZlE PAUL E. GAZlANO Esq.
Assistarrt United States Attonrey Federal Defender Prograirr

Attorney for the defendant

